






In the



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-05-177 CV


____________________



TEXAS WORKERS' COMPENSATION COMMISSION, Appellant



V.



STAN HORTON AND RICKY DAY TRUCKING, Appellees






On Appeal from the 1st District Court


Jasper County, Texas


Trial Cause No. 26383







     OPINION



	This is an appeal from an order granting a temporary injunction requiring the Texas
Workers' Compensation Commission ("TWCC") to reinstate Dr. Merrimon Baker to its list
of  approved physicians.  The TWCC asserts its statutory right to appeal from orders granting
temporary injunctions.  See Tex. Civ. Prac. &amp; Rem. Code Ann. § 51.014(a)(4) (Vernon
Supp. 2005).  


	Stan Horton, a resident of Jasper County, Texas, sued his employer's compensation
carrier.  Horton alleges he injured his back in the course and scope of his employment with
a subscriber under Texas's workers' compensation laws.  See Tex. Lab. Code Ann. §§
408.001 - 418.002 (Vernon 1996 &amp; Supp. 2005).  Following Horton's on-the-job back injury,
Dr. Merrimon Baker treated Horton.  During Horton's treatment, the TWCC revoked Dr.
Baker's status as a physician approved to treat compensation claimants.  As a result, the
TWCC refused to continue to pay for Horton's treatment by Dr. Baker and Horton filed suit. 

	In his pleadings, Horton sought a temporary injunction to prohibit the TWCC from
"refusing to authorize[] payment for Dr. Baker's medical care."   In the alternative, Horton
sought to recover "a judgment for money damages."  Horton also asserted in his petition that
no other physicians were available in Jasper County to treat him for his injuries, and that his
injuries required surgery.  According to Horton, no local physicians on the TWCC's list of
approved physicians perform spine surgery at hospitals in Jasper County, Texas.  Thus, he
maintained he has no adequate remedy and suffers irreparable injury because the TWCC
removed Dr. Baker from its list of approved physicians. 

	On April 15, 2005, the TWCC filed an answer and motion to transfer venue.  The
TWCC did not file a plea to the jurisdiction.   On April 20, 2005, five days after the TWCC
filed its answer, the district court held an evidentiary hearing on Horton's request for a
temporary injunction.  Horton did not appear or testify at the hearing.	

	On May 3, 2005, the court granted the temporary injunction resolving the disputed
issues in Horton's favor.  In its order, the trial court found that (1) Horton would probably
prevail on the trial of his cause; (2) the TWCC had removed the only local physician
available to treat Horton's injuries from its list of approved physicians; (3) the TWCC's
action altered the status quo and made "ineffectual a judgment in favor of [Horton] in that
[Horton] will be faced with an inadequate level of care for [his] injuries . . ."; and (4) unless
the court restrains the TWCC, Horton will have no adequate remedy at law because  "he will
suffer substantial ongoing pain that significantly interferes with normal life activities. . . ." 
The district court ordered the TWCC to reinstate Dr. Baker as an approved physician to treat
workers' compensation patients for their injuries within his area of specialty.  

	The TWCC raises six appellate issues, which include its challenges to the trial court's
jurisdiction to order the TWCC to reinstate Dr. Baker as an approved physician.  Based on
the pleadings and record before it, we agree that the trial court acted without jurisdiction in
granting the request for a temporary injunction.  Accordingly, we reverse the trial court's
order granting a temporary injunction.

Standard of Review

	 The TWCC argues that the trial court acted without subject matter jurisdiction
because the agency is immune from suit.  "Sovereign immunity from suit defeats a trial
court's subject-matter jurisdiction."  State ex rel. State Dep't of Highways &amp; Public Transp.
v. Gonzalez, 82 S.W.3d 322, 327 (Tex. 2002).  "Whether a trial court has subject matter
jurisdiction is a legal question that we review de novo."  Id.  

	In evaluating whether a plaintiff has proved a court's jurisdiction, we consider the
facts alleged in the petition and any evidence submitted by the parties about jurisdiction. 
Texas Dep't of Parks &amp;  Wildlife v. Miranda, 133 S.W.3d 217, 226-27 (Tex. 2004).   We
construe the pleadings in the plaintiff's favor and do not weigh the merits of the plaintiff's
claims.  County of Cameron v. Brown, 80 S.W.3d 549, 555 (Tex. 2002).  When the plaintiff's
pleadings are insufficient to establish jurisdiction but are curable, the proper remedy is to
allow the plaintiff an opportunity to amend.  Id.  

Subject Matter Jurisdiction

	We first address whether  the trial court had subject matter jurisdiction over Horton's
request for injunctive relief.  The TWCC's first issue asserts that, absent statutory
authorization or legislative consent, a sovereign is immune from a trial court's attempt to
control a state official's exercise of discretion. 

	The TWCC is a state agency created by statute.  See Act of May 12, 1993, 73rd Leg.,
R.S., ch. 269, § 1, 1993 Tex. Gen. Laws 1136 (amended 1995, 2005) (current version at Tex.
Lab. Code Ann. § 402.001 (Vernon Supp. 2005)). (1)  "The general rule is that the State has
sovereign immunity unless it has been waived.  This immunity applies to both the State and
its agencies. . . ."  Texas Dep't of Transp. v. Able, 35 S.W.3d 608, 611 (Tex. 2000) (citations
omitted).  "Sovereign  immunity  from  suit  defeats  a  trial  court's  subject  matter
jurisdiction. . . ."  Miranda, 133 S.W.3d at  225-226.  

	Although the TWCC did not file a plea to the jurisdiction and did not raise the issue
of sovereign immunity in the trial court, Texas law allows a state agency to raise subject
matter jurisdiction for the first time on appeal.  Texas Ass'n of Business v. Texas Air Control
Bd., 852 S.W.2d 440, 445 (Tex. 1993).  Thus, we will consider the TWCC's argument that
it is immune from suit, even though it did not raise this argument in the trial court below.

	Although not cited in Horton's pleadings, the Texas Constitution gives district courts
the authority to issue injunctions.  Tex. Const. art. V, § 8.  Additionally, the legislature has
granted jurisdiction over suits for injunctive relief to district and county courts.  See Tex.
Civ. Prac. &amp; Rem. Code Ann. § 65.021 (Vernon 1997).  Nevertheless, a suit brought "to  
control State actions or to subject the State to liability is not maintainable without legislative
consent or statutory authorization."  Director of Dep't of Agric. &amp; Env't  v. Printing Indus.
Ass'n of Tex., 600 S.W.2d 264, 265 (Tex. 1980).

	 At the same time, suits against state officials who have acted unlawfully or suits to
prevent the occurrence of an unlawful action do not require legislative or statutory
authorization.  Id.; Texas Highway Comm'n v. Texas Ass'n of Steel Importers, Inc., 372
S.W.2d 525, 530 (Tex. 1963).  Thus, a suit for injunctive relief against a state agency is
maintainable only if the pleadings, together with the relevant evidence, show that the
agency's activity is unlawful because it lacks statutory authorization.  Director of Dep't of
Agric. &amp; Env't, 600 S.W.2d at 266; Steele v. City of Houston, 603 S.W.2d 786, 791-92 (Tex.
1980).  Additionally, a state agency can be enjoined if its actions violate the Constitution. 
See id.  But here, Horton pleads no constitutional violation.      

	When suing a state entity, the plaintiff bears the burden of proving that the court has
subject matter jurisdiction.  "In a suit against a governmental unit, the plaintiff must
affirmatively demonstrate the court's jurisdiction by alleging a valid waiver of immunity." 
Dallas Area Rapid Transit v. Whitley, 104 S.W.3d 540, 542 (Tex. 2003).  To decide whether
Horton affirmatively proved the trial court's  subject-matter jurisdiction over his request for
injunctive relief, we consider the facts he alleged and the parties' evidence on  jurisdiction. 
Tex. Dep't of Criminal Justice v. Miller, 51 S.W.3d 583, 587 (Tex. 2001).  In reviewing
Horton's pleadings, we find nothing referring us to any authority showing the trial court had
jurisdiction over his request to enjoin the TWCC.

	Next, we review the relevant evidence from the hearing.  Horton's first witness was
a workers' compensation beneficiary, who also was Dr. Baker's patient.  This witness
indicated that he could not travel to see an out-of-town physician because of  a combination
of his injuries, his father's disabilities, and his inability to travel very far.  This witness did
not know Horton and was unaware of any problems between Dr. Baker and the TWCC.  We
find the testimony of this witness irrelevant to the jurisdictional issue.

	Horton's attorney then called another workers' compensation beneficiary.  The second
witness said that no one had notified him that Dr. Baker could not treat him.  This witness,
who did not know Horton, further testified that he did not have adequate transportation to
allow him to travel to Beaumont or Lufkin for medical treatment.  We also find the testimony
of this witness irrelevant to the jurisdictional issue. 

	The administrator of the Dickerson Memorial Hospital also testified at the hearing. 
According to this witness, while two orthopedic surgeons practice in the Jasper area, only Dr.
Baker accepts patients on workers' compensation benefits.   The TWCC's attorney cross-examined the hospital administrator about: (1) his knowledge of Dr. Baker's malpractice
claims; (2) two agreed orders of the State Board of Medical Examiners limiting Dr. Baker's
medical privileges; (3) Dr. Baker's loss of patient-admission privileges at Cleveland
Memorial Hospital; and (4) a lawsuit against a hospital for its allegedly negligent
credentialing of Dr. Baker.  We find the administrator's testimony irrelevant to the
jurisdictional inquiry, namely whether the agency's denial of approved physician status to 
Dr. Baker was unconstitutional or unauthorized by statute. 

	Horton also called Dr. Baker to testify at the hearing.  During Dr. Baker's
examination, Horton's counsel introduced the TWCC's letter that explained the reasons it
denied Dr. Baker's request to be placed on its approved doctor list. The TWCC's letter
suggests the agency denied Dr. Baker's request for approved physician status because of
violations of the Texas Medical Practice Act. The letter concludes, "Further, this
correspondence shall constitute a Commission ORDER that you not provide health care to
injured employees under the Texas Workers' Compensation Act other than emergency or
immediate post-injury medical care." 

	Dr. Baker also expressed his opinion on Horton's medical treatment and the need for
Horton to receive treatment in Jasper.  Dr. Baker testified that Horton had a herniated disc
in the neck and needed a medical test, referred to as a discogram, to determine whether he
was a candidate for surgery.  Dr. Baker also addressed Horton's ability to travel to obtain
treatment and testified that Horton would find driving more than twenty to thirty minutes to
be difficult, if not impossible.  Dr. Baker testified that the delay in medical treatment was
causing injury to Horton, and that traveling long distances would aggravate Horton's
condition.  Dr. Baker testified that no other orthopedic surgeons in Jasper accepted
compensation cases.

	On cross-examination, Dr. Baker admitted that he did not know if a dispute existed
between the compensation carrier and Horton regarding the relationship of the neck injury
to Horton's on-the-job accident.  Dr. Baker also testified that if there were no association
between the neck injury and the compensation claim, he would not expect the compensation
carrier to pay for the neck surgery.

	We find much of Dr. Baker's testimony irrelevant to the jurisdictional inquiry.  But, 
because Dr. Baker's testimony demonstrates a factual basis for  the TWCC's exclusion of
Dr. Baker from its list of approved doctors, some of Dr. Baker's testimony is relevant to our
review of whether the trial court properly exercised subject matter jurisdiction in this case.

	At the hearing, the TWCC offered into evidence the affidavit of a Benefit Review
Officer.  His affidavit, which the trial court admitted as evidence, indicates that Horton
appeared at a December 10, 2004 benefit review conference, but then failed to appear at two
subsequent benefit review conferences.  Although the affidavit is relevant to the TWCC's
exhaustion of remedies issue, we do not reach that issue in our resolution of this appeal.

	To demonstrate  the TWCC's  legal authority to create a list of approved physicians,
the TWCC's appellate brief directs us to section 408.023 of the Texas Labor Code.  See Act
of May 25, 2001, 77th Leg., R.S., ch. 1456, § 1.01, 2001 Tex. Gen. Laws 5168 (amended
2005) (current version at Tex. Lab. Code Ann. § 408.023 (Vernon Supp. 2005)). (2)
  At the
time of the hearing, this section directed the TWCC to "develop a list of doctors licensed in
this state who are approved to provide health care services" authorized by the workers'
compensation laws.  See Id.

	To establish that the legislature granted discretion to the TWCC to remove a doctor
from its approved list, the TWCC also directs us to section 408.0231.  This statutory
provision, which was in effect at the time of the hearing and the entry of the trial court's
order,  provided the means for removing a doctor from TWCC's approved list. (3)
  See Act of
May 25, 2001, 77th Leg., R.S., ch. 1456, § 1.01,  2001 Tex. Gen. Laws 5169 (amended 2005)
(current version at Tex. Lab. Code Ann. § 408.0231 (Vernon Supp. 2005)).

	Pursuant to its rule-making authority granted by the Texas Legislature, the TWCC
promulgated and adopted rules effective March 14, 2002 pertinent to removing a physician
from its approved list.  See 28 Tex. Admin. Code § 180.26 (2005) (TWCC, Doctor and
Insurance Carrier Sanctions).  The evidence introduced at the hearing shows that Dr. Baker's
removal from the list of approved doctors relates to several factors that the TWCC considers
before taking such action.  Thus, based on the evidence submitted to the trial court, no
reasonable fact finder could conclude that the TWCC's action to remove Dr. Baker from its
list of approved physicians was unlawful.

	In summary, the legislature mandates that the TWCC provide health care services to
employees covered by workers' compensation insurance.  Tex. Lab. Code Ann. §
408.021(a).  In 2001, the legislature authorized the TWCC to establish rules for deleting or
suspending a doctor from its approved list.  Tex. Lab. Code Ann. § 408.0231(b)(1) (Vernon
Supp. 2005).  The TWCC established rules and subsequently acted within its legal authority
in deleting Dr. Baker from its approved list based on considerations that are contained within
its rules.  

	In granting the temporary injunction, the trial court apparently granted Horton's
request that the TWCC reinstate Dr. Baker because of the scarcity of orthopedic surgeons in
Jasper County, Texas.  Although the TWCC must provide reasonable and necessary medical
care for injured workers who sustain compensable injuries, this duty does not require the
TWCC to provide care by a particular physician.  Any determination that a particular
physician must render care, to the exclusion of others who could provide reasonable and
necessary medical care, falls into the category of "controlling an official within his legal
authority to act."  See King v. Texas Dep't of Human Servs. ex rel. Bost, 28 S.W.3d 27, 33
(Tex. App.- Austin 2000, no pet.) (quoting Harrison v. Bunnell, 420 S.W.2d 777, 779 (Tex.
Civ. App.- Austin 1967, no writ)).  

	We also note that under section 408.023(i), the TWCC is allowed to grant exceptions
to the requirement that doctors providing care for compensable injuries be on its approved
list.  See 2001 Tex. Gen. Laws at 5168.  This exception insures that employees have access
to healthcare.  The trial court's attempt to affirmatively require the TWCC to accept Dr.
Baker as the physician who will provide care, not only to Horton but to any employee,
constitutes a prohibited effort to manage state action.  Horton has not met his burden of
demonstrating that the doctrine of sovereign immunity does not bar his claim for injunctive
relief.

	The Austin Court of Appeals reached a similar conclusion in a case involving a
decision made by the Department of Human Services to promote one employee over another.
King, 28 S.W.3d at 33.  The unsuccessful employee sought injunctive relief vacating the
Department's decision and awarding the position to him.  The Austin Court held that:

	[King's] request to order the Department to place him in the position of
supervising attorney with concomitant duties, responsibilities, and pay falls
into the category of 'controlling an official within his legal authority to act'
and is barred by the sovereign immunity doctrine. [citing Harrison v. Bunnell,
420 S.W.2d 777, 779 (Tex. Civ. App. - Austin 1967, no writ)].  The trial court
would have jurisdiction only to declare the hiring process invalid and set aside
the agency's decision.  Thus, only King's specific request for relief vacating
the award is not barred by sovereign immunity.  


Id. at 33-34 (citations omitted).   


	The other basis for injunctive relief against a state agency arises when the agency's
activity violates the Constitution.  Director of Dep't of Agric. &amp; Env't, 600 S.W.2d at 266.
We need mention this basis only briefly.  A claim that a statute is unconstitutional as applied
to a particular plaintiff is a plea in confession or avoidance and must be pleaded under the
Rules of Civil Procedure.  Tex. R. Civ. P. 94;  Walker v. Gutierrez, 111 S.W.3d 56, 66 (Tex.
2003) (party challenging statute has burden to prove unconstitutionality);  Southwestern Elec.
Power Co. v. Grant, 73 S.W.3d 211, 222 (Tex. 2002) (open-courts claim not preserved on
appeal when it was not raised in trial court);  In re Doe 2, 19 S.W.3d 278, 284 (Tex. 2000)
(recognizing that trial court is generally without authority to reach the question of the
constitutionality of a statute absent a pleading raising the issue of unconstitutionality). 
Because Horton raised no claim in the trial court that the TWCC could not constitutionally
remove Dr. Baker from its list of approved medical providers, there is no challenge before
us on appeal based on the constitutionality of the statute as applied to Horton.

	Generally, a court cannot require the TWCC to place a doctor on its approved
physician list.  By virtue of the legislature's enactment of section 408.0231(b) of the Texas
Labor Code, the legislature granted the TWCC discretion to manage and administer its list
of approved physicians.  Thus, Horton's effort to control the TWCC's exercise of discretion,
otherwise validly given to the TWCC by the legislature, constitutes a suit seeking to control
state action and may not be maintained absent legislative permission.  Under the facts and
circumstances presented here, we hold that the doctrine of sovereign immunity deprived the
trial court of subject matter jurisdiction.  We limit our holding to the circumstances presented
by the pleadings and record here as circumstances in other cases might merit judicial review
of the TWCC's actions.  

Conclusion

	Horton's pleadings and evidence do not demonstrate that the trial court had subject-
matter jurisdiction to grant the temporary injunction.  We reverse the trial court's order
granting temporary injunctive relief, thereby dissolving the temporary injunction, and remand
the matter to the trial court for further proceedings. 

	REVERSED AND REMANDED.

								___________________________

									HOLLIS HORTON

										Justice



Submitted on January 25, 2006

Opinion Delivered March 9, 2006

Before McKeithen, C.J., Kreger, and Horton, JJ.



Endnotes




1.   The TWCC was abolished as of September 1, 2005 and its functions were assumed by the division of
workers compensation within the Texas Department of Insurance.  See  Tex. Lab. Code Ann. § 402.001
(Vernon Supp. 2005).  Since the order at issue was entered prior to the reorganization, all references in this
opinion are to the TWCC and the law existing prior to September 1, 2005.
2.  	Sec. 408.023. LIST OF APPROVED DOCTORS; DUTIES OF TREATING DOCTORS.


	(a) The commission shall develop a list of doctors licensed in this state who are approved to
provide health care services under this subtitle.  Each doctor licensed in this state on
September 1, 2001, is eligible to be included on the commission's list of approved doctors
if the doctor:


		(1) registers with the commission in the manner prescribed by commission
rules; and

		

		(2) complies with the requirements adopted by the commission under this
section.


	(b) The commission by rule shall establish reasonable requirements for doctors and health
care providers financially related to those doctors regarding training, impairment rating
testing, and disclosure of financial interests as required by Section 413.041, and for
monitoring of those doctors and health care providers as provided by Sections 408.0231 and
413.0512. The commission by rule shall provide a reasonable period, not to exceed 18
months after the adoption of rules under this section, for doctors to comply with the
registration and training requirements of this subchapter.  Except as otherwise provided by
this section, the requirements under this subsection apply to doctors and other health care
providers who:


	(1)  provide health care services as treating doctors;


		(2)  provide health care services as authorized by this chapter;


				(3)  perform medical peer review under this subtitle;


		(4)  perform utilization review of medical benefits provided under this
subtitle; or


		(5) provide health care services on referral from a treating doctor, as
provided by commission rule.


	(c) The commission shall issue to a doctor who is approved by the commission a certificate
of registration.  In determining whether to issue a certificate of registration, the commission
may consider and condition its approval on any practice restrictions applicable to the
applicant that are relevant to services provided under this subtitle.  The commission may also
consider the practice restrictions of an applicant when determining appropriate sanctions
under Section 408.0231.


	(d) A certificate of registration issued under this section is valid, unless revoked, suspended,
or revised, for the period provided by commission rule and may be renewed on application
to the commission.  The commission shall provide notice to each doctor on the approved
doctor list of the pending expiration of the doctor's certificate of registration not later than
the 60th day before the date of expiration of the certificate.


	(e) Notwithstanding other provisions of this section, a doctor not licensed in this state but
licensed in another state or jurisdiction who treats employees or performs utilization review
of health care for an insurance carrier may apply for a certificate of registration under this
section to be included on the commission's list of approved doctors.


	(f) Except in an emergency or for immediate post-injury medical care as defined by
commission rule, or as provided by Subsection (h) or (i), each doctor who performs functions
under this subtitle, including examinations under this chapter, must hold a certificate of
registration and be on the list of approved doctors in order to perform services or receive
payment for those services.


	(g) The commission by rule shall modify registration and training requirements for doctors
who infrequently provide health care, who perform utilization review or peer review
functions for insurance carriers, or who participate in regional networks established under
this subchapter, as necessary to ensure that those doctors are informed of the regulations that
affect health care benefit delivery under this subtitle.


	(h) Notwithstanding Section 4(h), Article 21.58A, Insurance Code, a utilization review agent
that uses doctors to perform reviews of health care services provided under this subtitle may
use doctors licensed by another state to perform the reviews, but the reviews must be
performed under the direction of a doctor licensed to practice in this state.


	(i) The commission may grant exceptions to the requirement imposed under Subsection (f)
as necessary to ensure that:


		(1) employees have access to health care; and


		(2) insurance carriers have access to evaluations of an employee's health
care and income benefit eligibility as provided by this subtitle.


	(j) The injured employee's treating doctor is responsible for the efficient management of
medical care as required by Section 408.025(c) and commission rules.  The commission shall
collect information regarding:


		(1)  return-to-work outcomes;


		(2)  patient satisfaction; and


		(3)  cost and utilization of health care provided or authorized by a treating
doctor on the list of approved doctors.


	(k) The commission may adopt rules to define the role of the treating doctor and to specify
outcome information to be collected for a treating doctor.


Act of May 25, 2001, 77th Leg., R.S., ch. 1456, § 1.01,  2001 Tex. Gen. Laws 5168 (amended 2005) (current
version at Tex. Lab. Code Ann. § 408.023 (Vernon Supp. 2005)).

3. 	Sec. 408.0231. MAINTENANCE OF LIST OF APPROVED DOCTORS; SANCTIONS AND
PRIVILEGES RELATING TO HEALTH CARE.


	(a)  The executive director shall delete from the list of approved doctors a doctor:


		(1) who fails to register with the commission as provided by this chapter
and commission rules;


		(2) who is deceased;


		(3) whose license to practice in this state is revoked, suspended, or not
renewed by the appropriate licensing authority; or


		(4) who requests to be removed from the list.


	(b) The commission by rule shall establish criteria for:


		(1) deleting or suspending a doctor from the list of approved doctors;


		(2) imposing sanctions on a doctor or an insurance carrier as provided by
this section;


		(3) monitoring of utilization review agents, as provided by a memorandum
of understanding between the commission and the Texas Department of
Insurance; and


		(4) authorizing increased or reduced utilization review and preauthorization
controls on a doctor.


	(c) Rules adopted under Subsection (b) are in addition to, and do not affect, the rules adopted
under Section 415.023(b).  The criteria for deleting a doctor from the list or for
recommending or imposing sanctions may include anything the commission considers
relevant, including:


		(1) a sanction of the doctor by the commission for a violation of Chapter
413 or Chapter 415;


		(2) a sanction by the Medicare or Medicaid program for:


			(A) substandard medical care;


			(B) overcharging;


			(C) overutilization of medical services; or


			(D) any other substantive noncompliance with
requirements of those programs regarding professional
practice or billing;


		(3) evidence from the commission's medical records that the applicable
insurance carrier's utilization review practices or the doctor's charges, fees,
diagnoses, treatments, evaluations, or impairment ratings are substantially
different from those the commission finds to be fair and reasonable based
on either a single determination or a pattern of practice;


		(4) a suspension or other relevant practice restriction of the doctor's license
by an appropriate licensing authority;

		(5) professional failure to practice medicine or provide health care,
including chiropractic care, in an acceptable manner consistent with the
public health, safety, and welfare;


		(6) findings of fact and conclusions of law made by a court, an
administrative law judge of the State Office of Administrative Hearings, or
a licensing or regulatory authority; or


		(7) a criminal conviction.


	(d) The commission by rule shall establish procedures under which a doctor may apply for:


		(1) reinstatement to the list of approved doctors; or


		(2) restoration of doctor practice privileges removed by the commission
based on sanctions imposed under this section.


	(e) The commission shall act on a recommendation by the medical advisor selected under
Section 413.0511 and, after notice and the opportunity for a hearing, may impose sanctions
under this section on a doctor or an insurance carrier or may recommend action regarding
a utilization review agent.  The commission and the Texas Department of Insurance shall
enter into a memorandum of understanding to coordinate the regulation of insurance carriers
and utilization review agents as necessary to ensure:


		(1) compliance with applicable regulations; and


		(2) that appropriate health care decisions are reached under this subtitle and
under Article 21.58A, Insurance Code.


	(f) The sanctions the commission may recommend or impose under this section include:


		(1) reduction of allowable reimbursement;


		(2) mandatory preauthorization of all or certain health care services;


		(3) required peer review monitoring, reporting, and audit;


		(4) deletion or suspension from the approved doctor list and the designated
doctor list;


		(5) restrictions on appointment under this chapter;


		(6) conditions or restrictions on an insurance carrier regarding actions by
insurance carriers under this subtitle in accordance with the memorandum
of understanding adopted between the commission and the Texas
Department of Insurance regarding Article 21.58A, Insurance Code; and


		(7) mandatory participation in training classes or other courses as
established or certified by the commission.


Act of May 25, 2001, 77th Leg., R.S., ch. 1456, § 1.01,  2001 Tex. Gen. Laws 5169 (amended 2005)
(current version at Tex. Lab. Code Ann. § 408.0231 (Vernon Supp. 2005)).



